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                     16    SYMANTEC LIMITED

                     17                            UNITED STATES DISTRICT COURT

                     18              NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO
                     19

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                          SYMANTEC CORPORATION and                 Case No. 3:17-cv-04414-JST
                     21   SYMANTEC LIMITED,
                                                                [PROPOSED] ORDER GRANTING
                     22              Plaintiffs,                STIPULATED REQUEST TO CONTINUE
                                                                CLAIM CONSTRUCTION HEARING
                     23        vs.

                     24   ZSCALER, INC.,

                     25              Defendant.

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                     27

                     28               [PROPOSED] ORDER GRANTING STIPULATED REQUEST
                                                  Case: 3:17-cv-04414-JST                         1
                            Case 3:17-cv-04414-JST Document 130 Filed 10/25/18 Page 2 of 2



                      1                                                ORDER

                      2          For good cause shown, the Court continues the date of the claim construction hearing

                      3   from 1:30 P.M. on April 2, 2019, to 1:30 P.M. on April 9, 2019.

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                      5      IT IS SO ORDERED.

                      6

                      7              October 25, 2018
                             Dated: __________________________               __________________________________

                      8                                                      HON. JON S. TIGAR

                      9                                                      U.S. DISTRICT JUDGE

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BAKER BOTTS L.L.P.




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                                          [PROPOSED] ORDER GRANTING STIPULATED REQUEST
                                                         Case: 3:17-cv-04414-JST                                 2
